USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 1 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 2 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 3 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 4 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 5 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 6 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 7 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 8 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 9 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 10 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 11 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 12 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 13 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 14 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 15 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 16 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 17 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 18 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 19 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 20 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 21 of 22
USDC IN/ND case 2:19-cr-00159-PPS-JEM document 23-2 filed 08/17/20 page 22 of 22
